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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

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                                   7     MELISSA ANJINETTE CARRASCO,                        Case No. 20-cv-05833-JST
                                                        Plaintiff,
                                   8
                                                                                            ORDER TO SHOW CAUSE
                                                  v.
                                   9

                                  10     BANK OF AMERICA, et al.,
                                                        Defendants.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13           Civil Local Rule 11-1(a) provides, subject to exceptions not present here, that “an attorney

                                  14   must be a member of the bar of this Court to practice in this Court.” Civ. L.R. 11-1(a). Rule 11-

                                  15   1(b), in turn, provides that “[t]o be eligible for admission to and continuing membership in the bar

                                  16   of this Court an attorney must be an active member in good standing of the State Bar of

                                  17   California.” Civ. L.R. 11-1(b).

                                  18           The records of the California State Bar indicate that Richard James Mooney, attorney for

                                  19   Defendant Uplift, Inc., became ineligible to practice law on July 1, 2021 and remains ineligible.

                                  20   See http://members.calbar.ca.gov/fal/Licensee/Detail/176486 (last visited Aug. 9, 2021). On July

                                  21   30, 2021, Mr. Mooney filed an opposition to Plaintiff’s motion for leave to file a second amended

                                  22   complaint. Assuming the State Bar’s records are accurate, Mr. Mooney was not authorized to

                                  23   practice law on that date.

                                  24           Defendant Uplift is hereby ORDERED TO SHOW CAUSE why its opposition to

                                  25   Plaintiff’s motion should not be stricken. Attorney Mooney is hereby ORDERED TO SHOW

                                  26   CAUSE why this Court should not refer him to the Northern District of California’s Standing

                                  27   Committee on Professional Conduct for his violation of the Court’s local rules. See Civ. L.R. 11-

                                  28   6(c).
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                                   1          A written response to this order to show cause is due September 10, 2021. The Court will

                                   2   conduct a hearing on the order to show cause on September 16, 2021 at 2:00 p.m.

                                   3          IT IS SO ORDERED.

                                   4   Dated: August 10, 2021
                                                                                     ______________________________________
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                                                                                                   JON S. TIGAR
                                   6                                                         United States District Judge

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Northern District of California
 United States District Court




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